
679 S.E.2d 842 (2009)
STATE of North Carolina
v.
Cameron Corderah MORRIS.
No. 27P09.
Supreme Court of North Carolina.
June 17, 2009.
Ann B. Petersen, Chapel Hill, for Morris.
Edwin W. Welch, Associate Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 19th of January 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
Denied by order of the Court in conference, this the 17th of June 2009.
